Case 1:16-cr-00008-IMK-MJA Document 101 Filed 06/27/16 Page 1 of 4 PageID #: 235



                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                    Plaintiff,

       v.                                      CRIMINAL NO. 1:16CR08-04
                                                    (Judge Keeley)

 JUSTIN DONALD MYERS,

                    Defendant.

     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 91),
      ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

       On    June   10,    2016,     the    defendant,      Justin   Donald    Myers

 (“Myers”), appeared before United States Magistrate Judge Michael

 J. Aloi and moved for permission to enter a plea of GUILTY to Count

 Ten of the Indictment. After Myers stated that he understood that

 the magistrate judge is not a United States District Judge, he

 consented to tendering his plea before the magistrate judge.

 Previously,    this      Court    had     referred   the   guilty   plea     to   the

 magistrate judge for the purposes of administering the allocution

 pursuant to Federal Rule of Criminal Procedure 11, making a finding

 as to whether the plea was knowingly and voluntarily entered, and

 recommending to this Court whether the plea should be accepted.

       Based upon Myers’ statements during the plea hearing, and the

 testimony    of    John    Large,       Special   Agent,    Federal   Bureau       of

 Investigation, the magistrate judge found that Myers was competent

 to enter a plea, that the plea was freely and voluntarily given,
Case 1:16-cr-00008-IMK-MJA Document 101 Filed 06/27/16 Page 2 of 4 PageID #: 236



 USA v. MYERS                                                    1:16CR08-04

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 that he was aware of the nature of the charges against him and the

 consequences of his plea, and that a factual basis existed for the

 tendered plea. On June 10, 2016, the magistrate judge entered a

 Report and Recommendation Concerning Plea of Guilty in Felony Case

 (“R&R”) (dkt. no. 91), finding a factual basis for the plea and

 recommending that this Court accept Myers’ plea of guilty to Count

 Ten of the Indictment.

       The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R. He further advised that failure to file

 objections would result in a waiver of the right to appeal from a

 judgment of this Court based on the R&R. The parties did not file

 any objections to the R&R.

       Accordingly, this Court ADOPTS the magistrate judge’s R&R,

 ACCEPTS Myers’ guilty plea, and ADJUGES him GUILTY of the crime

 charged in Count Ten of the Indictment.

       Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until it

 has received and reviewed the presentence report prepared in this

 matter.



                                       2
Case 1:16-cr-00008-IMK-MJA Document 101 Filed 06/27/16 Page 3 of 4 PageID #: 237



 USA v. MYERS                                                    1:16CR08-04

       ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
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         Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

 follows:

         1.   The Probation Officer shall undertake a presentence

 investigation of Myers, and prepare a presentence report for the

 Court;

         2.   The Government and Myers are to provide their versions of

 the offense to the probation officer by July 11, 2016;

         3.   The presentence report is to be disclosed to Myers,

 defense counsel, and the United States on or before September 9,

 2016; however, the Probation Officer is not to disclose the

 sentencing recommendations made pursuant to Fed. R. Crim. P.

 32(e)(3);

         4.   Counsel may file written objections to the presentence

 report on or before September 23, 2016;

         5.   The Office of Probation shall submit the presentence

 report with addendum to the Court on or before September 30, 2016;

 and

         6.   Counsel may file any written sentencing statements and

 motions for departure from the Sentencing Guidelines, including the




                                       3
Case 1:16-cr-00008-IMK-MJA Document 101 Filed 06/27/16 Page 4 of 4 PageID #: 238



 USA v. MYERS                                                          1:16CR08-04

     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
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 factual     basis    from    the   statements    or   motions,   on    or   before

 September 30, 2016.

       The magistrate judge remanded Myers to the custody of the

 United States Marshal Service.

       The    Court    will    conduct    the    sentencing   hearing     for   the

 defendant on Thursday, October 13, 2016 at 12:15 P.M. at the

 Clarksburg, West Virginia point of holding court.

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to

 counsel of record, the defendant and all appropriate agencies.

 DATED: June 27, 2016


                                         /s/ Irene M. Keeley
                                         IRENE M. KEELEY
                                         UNITED STATES DISTRICT JUDGE




                                           4
